      Case 4:05-cr-00040-SWW Document 534 Filed 03/23/10 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION



UNITED STATES OF AMERICA


vs.                                  NO. 4:05CR00040-009    SWW


DANIEL RAY NEAL


                                     ORDER

      The above entitled cause came on for hearing on government’s motion to

revoke the supervised release previously granted this defendant in the United

States District Court for the Eastern District of Arkansas.       Based upon the

admissions of defendant, the Court found that defendant has violated the

conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release previously

granted this defendant, be, and it is hereby, revoked, granting government’s

motion [doc #514].   Defendant shall serve a term of imprisonment of NINE (9)

MONTHS in the custody of the Bureau of Prisons. The Court recommends that

defendant be incarcerated as close to Arkansas as possible; that defendant

participate in residential or non-residential substance abuse treatment during

incarceration.

      There will be NO supervised release to follow.

      IT IS SO ORDERED this 23rd day of March 2010.

                                             /s/Susan Webber Wright

                                             United States District Judge
